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UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF MARYLAND

LYNN NEAL MOORE
3862 Kahler Road
White Plains, Maryland 20695
and
MARY C. MOORE
3862 Kahler Road
White Plains, Maryland 20695
PIailltiffs
v. : Case No. 8:17-¢:v-3398
ROBERT ALLEN BOWDERS
2059 Huntington Avenue, #808
Alexandria, Virginia 22303
and
SHIRLEY C()NTRACTING COMPANY, LLC
8435 Backlick Road
Lorton, Virginia 22079
Serve on Resident Agent:
The Corporation Trust, Incorporated
2405 York Road, Suite 201
Lutherville-Timonium, Maryland 21093 :
Defendants
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COMPLAINT
COME NOW, the Plaintiffs, Lynn Neal Moore and Mary C. Moore, by counsel
Scott A. Bowling and Chapman & Bowling, LLC, to file this Complaint against the

Defendants and Say:

 

 

 

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Introductory Facts Common to All Counts

l. That the Plaintiff, Lynn Neal Moore, is an adult citizen of the United
States and a resident of Charles County, Maryland for all times relevant herein.

2. That the Plaintiff, Mary C. Moore, is an adult citizen of the United States
and a resident of Charles County, Maryland for all times relevant herein. ln_addition, this
Plaintiff is the lawful Wife of the Plaintiff, Lynn Neal Moore.

3. That by information and belief, the Defendant, Robert Allen Bowders, is
believed to be an adult citizen of the United States and a resident of Alexandria, Virginia.

4. That the Defendant, Shirley Contracting Company, LLC, is believed to be
a corporation organized in the state of Virginia and conducting business in Prince
George’s County, Maryland.

5. That venue is proper as this cause of action occurred in Brandywine,
Prince George’s County, Maryland.

6. That this Court has subject matter jurisdiction pursuant to 28 U.S.C. 1332.

7. That the parties present a diversity of citizenship and the amount in
controversy exceeds $75,000.00.

8. That on September 14, 2016 at approximately 12:20 p.in., the Plaintiff,
Lynn Neal Moore, Was operating his motor vehicle in a northbound direction of
Brandywine Road at or near its intersection With Lee Acres Drive in Brandywine, Prince
George’s County, Maryland.

9. That at the same time and aforesaid place, the Defendant, Robert Allen

Bowders, Was operating a 2003 Mack Dump Truck apparently owned by the Defendant,

 

 

 

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Shirley Contracting Company, LLC, in a southbound direction on Brandywine Road
approaching the intersection of Lee Acres Drive in Prince George’s County, Maryland.

10. That without justification or Warning, the Defendant, Robert Allen
Bowders, left the southbound lanes of Brandywine Road and entered the northbound
lanes of Brandywine Road directly into the path of the Plaintiff, Lynn Neal Moore’s
direction of travel.

ll. That as a result of Defendant Bowders’ actions of leaving the southbound
lanes of Brandywine Road and entering the northbound lanes of Brandywine Road in a
southbound direction, a violent collision occurred between the Defendant Bowders’ truck
and the Plaintift’s vehicle

Count One

12. The Plaintiffs incorporate the facts and allegations of the preceding
paragraphs as if fully set forth herein.

13. That the Defendant, Robert Allen Bowders, was careless, reckless and
negligent for leaving his lane of travel and entering the lane occupied by the Plaintiff,
failing to operate his truck with reasonable care, failing to maintain a reasonable speed,
failing to maintain proper attention to the traffic conditions and failing to operate his
motor vehicle consistent with the laws of the state of Maryland.

14. That as a direct and proximate result of the negligence of the Defendant,
Robert Allen Bowders, the Plaintiff sustained serious injuries to his spine, back, limbs

and head.

 

 

 

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15 . That as a direct and proximate result of the injuries Sustained by the

Plaintiff, the Plaintiff, Lynn Neal Moore, was caused to undergo, experience and incur:

A. medical treatment;

B surgical procedures;

C. medical expense;

D permanent residual impairment of his daily activities and physical

capacity; and
E. non-economic damages to include pain, suffering and
inconvenience in the past and to be experienced in the future.

16. That all of the losses described herein were caused by the negligence of
the Defendant, Robert Allen Bowders, without any contribution by the Plaintiff
whatsoever

WHEREFORE, the Plaintiff, Lynn Neal Moore, demands judgment against the
Defendant, Robert Allen Bowders, in the amount of One Million Dollars ($ l ,000,000.00)
compensatory damages

warm

17. That the Plaintiffs incorporate the facts and allegations of the preceding
paragraphs as if fully set forth herein

18. That by information and belief, the truck that was operated by the
Defendant, Robert Allen Bowders, was owned by the Defendant, Shirley Contracting

Company, LLC.

 

 

 

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19. That by information and belief, the Defendant, Robert Allen Bowders, was
operating the subject motor vehicle owned by the Defendant, Shirley Contracting
Company, LLC, during the course and scope of his employment

20. That the Defendant, Robert Allen Bowders, was negligent and caused a
collision between the Plaintiff, Lynn Neal Moore, and the truck operated by Robert Allen
Bowders.

21. That the Defendant, Shirley Contracting Company, LLC, is vicariously
liable for the negligent acts of the Defendant, Robert Allen Bowders, as a result of his
employment relationship with the Defendant, his agency relationship with the Defendant
and due to the fact that he was operating the subject motor vehicle at the request and
under the control of the Defendant, Shirley Contracting Company, LLC.

22. That as a direct and proximate result of the negligence of the Defendant,
Robert Allen Bowders, the Plaintiff sustained serious and permanent injuries as set forth
in the previous paragraphs of this Complaint.

23. That as a direct and proximate result of the negligence of the Defendant,
Robert Allen Bowders, the Defendant, Shirley Contracting Company, LLC, is vicariously
liable for the injuries, damages, expenses and losses sustained by the Plaintiff and as
previously described in this Complaint.

WHEREFORE, the Plaintiff, Lynn Neal Moore, demands judgment against the
Defendant, Shirley Contracting Company, LLC, in the amount of One Million Dollars

($1,000,000.00) compensatory damages

 

 

 

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Count Three

24. That the Plaintiffs incorporate the facts and allegations of the preceding
paragraphs as if fully set forth herein.

25. That the Plaintiff, Mary C. Moore, is the lawful wife of the Plaintiff, Lynn
Neal Moore.

26. That as previously alleged, the Defendant, Robert Allen Bowders, was
negligent in causing the motor vehicle collision on September 14, 2016.

27. That as a direct and proximate result of the injuries sustained by the
Plaintiff, Lynn Neal Moore, the Plaintiff, Mary C. Moore, sustained a loss of consortium,
society, affection, companionship and other non“economic losses as a result of the
injuries, recuperation and permanent impairment

28. That the Defendant, Robert Allen Bowders’ negligence proximately
caused the associated and alleged loss of consortium sustained by the Plaintiff, Mary C.
Moore.

29. That the Defendant, Robert Allen Bowders, is liable for compensatory
damages to the Plaintiff, Mary C. Moore, as a result of the loss of consortium and other
non~economic damages as set forth herein.

WHEREFORE, the Plaintiff, Mary C. Moore, demands judgment against the
Defendant, Robert Allen Bowders, in the amount of Five Hundred Thousand Dollars

($500,000.00) compensatory damages

 

 

 

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Count Four

30. That the Plaintiffs incorporate the facts and allegations of the preceding
paragraphs as if fully set forth herein.

3 l. That by information and belief, the truck that was operated by the
Defendant, Robert Allen Bowders, was owned by the Defendant, Shirley Contracting
Company, LLC.

32. That by information and belief, the Defendant, Robert Allen Bowders, was
operating the subject motor vehicle owned by the Defendant, Shirley Contracting
Company, LLC, during the course and scope of his employment

33. That the Defendant, Robert Allen Bowders, was negligent and caused a
collision between the Plaintiff, Lynn Neal Moore, and the truck operated by Robert Allen
Bowders.

34. That the Defendant, Shirley Contracting Company, LLC, is vicariously
liable for the negligent acts of the Defendant, Robert Allen Bowders, as a result of his
employment relationship with the Defendant, his agency relationship with the Defendant
and due to the fact that he was operating the subject motor vehicle at the request and
under the control of the Defendant, Shirley Contracting Company, LLC.

35. That as a direct and proximate result of the negligence of the Defendant,
Robert Allen Bowders, the Plaintiff, Mary C. Moore, sustained a loss of consortium,
Society, affection, companionship and other non-economic losses as set forth in the

previous paragraphs of this Cornplaint.

 

 

 

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36. That as a direct and proximate result of the negligence of the Defendant,
Robert Allen Bowders, the Defendant, Shirley Contracting Company, LLC, is vicariously
liable for the loss of consortium, society, affection, companionship and other non-
economic losses sustained by the Plaintiff, Mary C. Moore, as set forth in the previous
paragraphs of this Complaint.

WHEREFORE, the Plaintiff, Mary C. Moore, demands judgment against the
Defendant, Shirley Contracting Company, LLC, in the amount of Five Hundred

Thousand Dollars ($500,000.00) compensatory damagesl

Respectfully submitted,

By: gm /W

cotbA. Bowling,ji‘ai ID #l0723
Attorney for Plaintiffs
Chapman & Bowling, LLC
P.O. Box 610
La Plata, MD 20646
(301)934-9969

DEMAND FOR JURY TRIAL

The Plaintiffs demand a trial by jury on all issues presented herein.

 

 

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